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    ,Ao 132 (Rev, 12/03) Exemplification Certificate


                                              UNITED STATES DISTRICT COURT
                               Northern                       District of                              Georgia



                                                                     EXEMPLIFICATION CERTIFICATE

           I,                     Kevin P. Weimer                        , Clerk of this United States District Court,
     keeper of the records and seal, certify that the attached documents: Notice of Nolle Prosequi and Dismissal as
     to defendant Kayricka Wortham filed 11/30/2022 in Case No. 1:22-cr-0361-001- TCB-RGV, are true copies of
     records of this Court.




              In testimony whereof I sign my name and affix the seal of this Court, in this District, at
                                     Atlanta                           011 - l.;:) ....d �-�                             ca.a
                                                                                  �-Cc, u c.1--------
                                                       City                                        -              Date
                           Kevin P. Weimer
    Clerk                                                              (By) Deputy lerk


            I,                              Timothy C. Batten                           • � Judicial Officer ofthis Court,
    certify that                    Kevin P. Weimer                      • named above, is. and was on the date noted,
    Clerk of this Court, duly appointed and sworn, and keeper of the re       s and s:al, and that this certificate, and
    the attestation of the record, are in accordance with the laws of the · ed State�.


    Date                                                               Signature ofJudge

                                                                       United States District Judge
                                                                       Title


           I,                          Kevin P. Weimer                            , Clerk of this United States District Court,
    keeper of the seal, certify that the Honorable                                 Timothy C. Batten
                                                                                           Judge
    named above, is and was on the date noted a Judicial Officer of this Court, duly appointed, sworn and qualified,
    and that I am well acquainted with the Judge's official signature and know and certify the above signature
    to be that of the Judge.
            In testimony whereof! sign my name, and affix the seal of this Court at
                             Atlanta                     in this State, on          ,...,,., t.,,. ;7oa--3
                                      City                                                                 fula

                            Kevin P. Weimer                                       --�
    Clerk                                                              (By)D�
                                                                               �
       Case 1:22-cr-00361-TCB Document 27-2 Filed 01/26/23 Page 2 of 2




                       IN THE UNITED STATES DISTRICT coµ-O..:.;.E;....C _2_9_2_022--,
                      FOR THE NORTHERN DISTRICT OF GEORGIA
                                ATLANTA DIVISION                          �=����

UNITED STATES OF AMERICA                                   Criminal Action No.
                                                           1:22-cr-00361-TCB
v.


KAYRICKA WORTHAM A/KIA
KAYRICKA DUPREE A/KIA
KAYRICKA YOUNG


CHARGE(S):
     1) CONSPIRACY TO COMMIT WIRE FRAUD


                   NOTICE OF NOLLE PROSEOUI AND DISMISSAL
Comes now Norman L Barnett as Assistant United States Attorney for the United States District
Court for the Northern District of Georgia and gives notice that the above styled case is herby
TERMINATED and DISMISSED. The grounds for this motion will be stated on record in
chambers of the Honorable Chief Judge Timothy C. Batten
Respectfully submitted this 29th day of December, 2022.




                                                               Assistant United States Attorney
